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 1                                                      HONORABLE RONALD B. LEIGHTON

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 6
                                UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7
                                         AT TACOMA
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        FOREST SERVICE EMPLOYEES FOR                      CASE NO. C17-5747-RBL
 9      ENVIRONMENTAL ETHICS,
                                                          ORDER ON CROSS-MOTIONS FOR
10                             Plaintiff,                 SUMMARY JUDGMENT
                 v.
11                                                        DKT. ##22, 23
        UNITED STATES FOREST SERVICE,
12
                               Defendant.
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15
                                            INTRODUCTION
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            THIS MATTER is before the Court on Plaintiff Forest Service Employees for
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     Environmental Ethics’ [Dkt. #22] and the United States Forest Service’s [Dkt. #23] Cross
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     Motions for Summary Judgment. This suit arose as a result of the Forest Service’s decision to
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     grant a special use permit to the United States Navy allowing the Navy to conduct electronic
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     warfare training in the Olympic National Forest. FSEEE challenges this decision on two
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     grounds.
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            First, FSEEE contends that the Forest Service lacks congressional authorization to grant
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     permits for the purpose of military training. According to FSEEE, use of national forest land is
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     ORDER ON CROSS-MOTIONS FOR SUMMARY
     JUDGMENT - 1
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 1   circumscribed by the purposes set out in the Organic Administration Act of 1897 (Organic Act),

 2   the Multiple-Use Sustained-Yield Act of 1960 (MUSYA), and several narrower statutes. See 16

 3   U.S.C.A. §§ 475, 528. Because the Navy’s electronic warfare training does not fall within any of

 4   these purposes, the Forest Service lacked the power to grant the permit. In response, the Forest

 5   Service argues that section 551 of the Organic Act grants it broad regulatory power to control the

 6   uses of national forest land. See 16 U.S.C.A. § 551.

 7           Second, FSEEE argues that the decision to grant a permit to the Navy violates the

 8   National Forest Management Act’s (NFMA) requirement that all use permits comply with the

 9   agency’s land management plan. See 16 U.S.C.A. § 1604. More specifically, FSEEE points to

10   the Olympic National Forest Land and Resource Management Plan’s (Forest Plan) requirements

11   that the relevant use cannot reasonably be accommodated on private land, prioritizes the interests

12   of the general public, and is in harmony with the surrounding landscape. The Forest Service

13   contends that the Court must defer to the agency’s interpretation of its own Forest Plan, under

14   which the Forest Service’s decision satisfies all requirements.

15           For the reasons set forth below, FSEEE’s Motion for Summary Judgment is DENIED in

16   part and the Forest Service’s Motion is GRANTED in part. The Court reserves one issue under

17   the NFMA, as discussed below.

18                                           BACKGROUND

19           In simplified terms, “electronic warfare” refers to the use of electromagnetic energy to

20   disrupt or control access to the electromagnetic spectrum, which may be used for such purposes

21   as navigation or communication. AR177874. To conduct training, the Navy must simulate the

22   types of electromagnetic energy that an enemy would generate in order to practice detecting and

23   controlling these systems. AR177875.

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 1           One way that the Navy does this is through the use of trucks hauling the necessary

 2   equipment to emit an electromagnetic signal. AR177871. These trucks are basically Ford F-350s

 3   carrying trailers with large antennae. AR177872. To conduct training, the Navy drives these

 4   trucks to pre-selected locations and energizes the emitters, after which aircraft fly overhead and

 5   try to detect the signals. AR177871. According to the Navy, these trucks are important for

 6   electronic warfare training because they challenge aviators by simulating the mobility of an

 7   actual enemy. AR177875.

 8           On March 16, 2015, the Navy submitted a revised application to expand the use of

 9   mobile emitter trucks in the Olympic National Forest. AR205704-20. During the comment

10   period, FSEEE objected three times. [Compl., Dkt. #1, at ¶¶ 14-16, Ex. 3-5]. However, on July

11   31, 2017, the Forest Service issued its decision granting a special use permit pursuant to 36

12   C.F.R. § 251.50, which regulates the Forest Service’s permitting process. AR205606.

13           The permit allows the Navy to park mobile emitter trucks at 11 designated sites alongside

14   logging roads within the national forest. AR205579. On a typical day, three trucks will be

15   present in the national forest at a time. AR205579. Once a truck is parked, Navy personnel set up

16   a safety zone around the truck using warning tape and signage. AR205579. They then begin

17   operations for an average of 12 hours each day, 250 days of the year. AR205579, 205586. All

18   mobile emitter sites are within the Olympic Military Operations Areas, which is airspace

19   designated for Department of Defense training. AR188404.

20                                             DISCUSSION

21   A.      Summary Judgment Standard

22           Summary judgment is proper “if the pleadings, the discovery and disclosure materials on

23   file, and any affidavits show that there is no genuine issue as to any material fact and that the

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 1   movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). In determining whether

 2   an issue of fact exists, the Court must view all evidence in the light most favorable to the

 3   nonmoving party and draw all reasonable inferences in that party’s favor. Anderson v. Liberty

 4   Lobby, Inc., 477 U.S. 242, 248-50 (1986); Bagdadi v. Nazar, 84 F.3d 1194, 1197 (9th Cir. 1996).

 5   A genuine issue of material fact exists where there is sufficient evidence for a reasonable

 6   factfinder to find for the nonmoving party. Anderson, 477 U.S. at 248. The inquiry is “whether

 7   the evidence presents a sufficient disagreement to require submission to a jury or whether it is so

 8   one-sided that one party must prevail as a matter of law.” Id. at 251-52. The moving party bears

 9   the initial burden of showing that there is no evidence which supports an element essential to the

10   nonmovant’s claim. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

11           Once the movant has met this burden, the nonmoving party then must show that there is a

12   genuine issue for trial. Anderson, 477 U.S. at 250. If the nonmoving party fails to establish the

13   existence of a genuine issue of material fact, “the moving party is entitled to judgment as a

14   matter of law.” Celotex, 477 U.S. at 323-24. There is no requirement that the moving party

15   negate elements of the non-movant’s case. Lujan v. National Wildlife Federation, 497 U.S. 871

16   (1990). Once the moving party has met its burden, the non-movant must then produce concrete

17   evidence, without merely relying on allegations in the pleadings, that there remain genuine

18   factual issues. Anderson, 477 U.S. 242, 248 (1986).

19   B.      Congressional Authorization of Military Training as a Use of National Forest Land

20   1.      Sufficiency of FSEEE’s Pleadings to Raise the Congressional Authorization Argument at
             Summary Judgment
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             FSEEE argues that the Forest Service could not grant the Navy a permit to conduct
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     training on national forest land because no congressional statute authorizes such a use. However,
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     the Forest Service counters that FSEEE is procedurally barred from raising this legal theory
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 1   because the complaint makes no mention of it. Instead, the Forest Service contends that the

 2   complaint states only one claim for relief under the NFMA, and focuses solely on the facts

 3   underlying that claim. [Compl., Dkt. #1, at ¶¶ 11-20]. As a result, the Forest Service argues that

 4   it was not put on notice of a claim based on congressional authorization.

 5           FSEEE responds that the only fact necessary to support its congressional authorization

 6   claim is that the Forest Service issued the Navy a special use permit to carry out training, and

 7   this fact was pled. [Compl., Dkt. #1, ¶ 17]. Further, FSEEE argues that the complaint

 8   incorporates the FSEEE’s objection to the draft decision to grant the permit, which lays out the

 9   congressional authorization argument. [Compl., Dkt. #1, at ¶ 16, Ex. 5]. Finally, FSEEE argues

10   that, by invoking jurisdiction under the APA and stating that the Forest Service “violated the

11   NFMA,” the complaint implicitly claims that the agency exceeded its authority. [Compl., Dkt.

12   #1, at ¶¶ 6, 20].

13           Federal Rule of Civil Procedure 8(a) requires that a complaint contain “a short and plain

14   statement of the claim showing that the pleader is entitled to relief.” The Ninth Circuit has

15   explained that where “the complaint does not include the necessary factual allegations to state a

16   claim, raising such claim in a summary judgment motion is insufficient to present the claim to

17   the district court.” Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1079–80 (9th Cir. 2008).

18   Following this logic, the court held that the plaintiffs failed to adequately present a claim that the

19   NEIS did not consider certain risks when authorizing the use of artificial snow at a ski resort. Id.

20           The Ninth Circuit came to a similar conclusion in Coleman v. Quaker Oats Co., where

21   the plaintiff attempted to raise a disparate impact theory at summary judgment that was not pled

22   in the complaint or raised during discovery. 232 F.3d 1271, 1292 (9th Cir. 2000). The court held

23   that allowing the plaintiff to assert such a new theory would prejudice the defendant by forcing

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 1   them to develop entirely new defenses that were not explored through discovery. Id.; see also

 2   Smith v. City & Cty. of Honolulu, 887 F.3d 944, 951–52 (9th Cir. 2018) (relying on Coleman).

 3           Here, like Navajo Nation, the plaintiff raises a new argument at summary judgment

 4   challenging an agency action. The Court determines that the Forest Service was not adequately

 5   put on notice of this claim. The complaint’s “Factual Background” section focuses on the Navy

 6   and Forest Service’s failure to conform to the Forest Plan in granting the permit. [Compl., Dkt.

 7   #1, at ¶¶ 11-19]. The “Claim for Relief” section likewise states only that the Forest Service

 8   violated the NFMA by failing to meet the LRMP’s requirements for special-use permits.

 9   [Compl., Dkt. #1, at ¶ 20]. Nowhere in the complaint does FSEEE mention congressional

10   authorization or the limited permissible uses of national forest land.

11           FSEEE’s arguments to the contrary are unpersuasive. While it is correct that the

12   complaint likely contains sufficient facts underlying the congressional authorization argument,

13   the legal theory itself was not pled or raised before summary judgment. See Coleman, 232 F.3d

14   at 1292 (affirming the district court’s refusal to allow the plaintiffs to go forward with a new

15   legal theory at summary judgment). The complaint’s mere references to the APA in the

16   “Jurisdiction and Venue” section and the NFMA in the “Claim for Relief” section are

17   insufficient to inform the Forest Service of the specific congressional authorization argument.

18   See OTR Wheel Eng'g, Inc. v. W. Worldwide Servs., Inc., 897 F.3d 1008, 1024 (9th Cir. 2018)

19   (holding that citing section 43 of the Lanham Act, 15 U.S.C. § 1125, was not specific enough to

20   put the defendant on notice of an unregistered trade dress claim).

21           FSEEE’s reference to and attachment of its objection to the Forest Service’s draft

22   decision is also insufficient to put the Forest Service on notice. [Compl., Dkt. #1, at ¶ 16, Ex. 5].

23   Although the objection lays out the congressional authorization argument, FSEEE’s choice to

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 1   leave that theory out of its complaint may well have led the Forest Service to believe FSEEE had

 2   consciously abandoned that argument in its judicial action. See Navajo Nation, 535 F.3d at 1080

 3   n.27 (“A party may raise a claim at the administrative proceedings, but forego that claim on

 4   judicial review.”).

 5           Because the Forest Service was not on notice of FSEEE’s congressional authorization

 6   theory, the proper course of action would have been for FSEEE to move to amend its complaint

 7   before moving for summary judgment. However the Court would likely allow FSEEE to amend

 8   its complaint at this stage of litigation, and the parties have fully argued the congressional

 9   authorization issue in their briefs. Consequently, the Court will address the merits of the

10   argument below.

11   2.      The Merits of FSEEE’s Congressional Authorization Argument

12           Section 551 of the Organic Act states that the Secretary of Agriculture may “make such

13   rules and regulations and establish such service as will insure the objects of [national forests],

14   namely, to regulate their occupancy and use and preserve [them] from destruction.” 16 U.S.C.A.

15   § 551. The Court must decide whether this authority allows the Forest Service to grant special

16   use permits for purposes not specifically identified by Congress.

17           FSEEE argues that a series of statutes identify the closed universe of purposes for which

18   national forest land may be used. The broadest purposes are laid out in two statutes. Section 475

19   of the Organic Act states that national forests shall be “controlled and administered” to “improve

20   and protect the forest within the boundaries,” to secure “favorable conditions of water flow, and

21   to furnish a continuous supply of timber.” 16 U.S.C. § 475. MUSYA expands these to include

22   “outdoor recreation, range, timber, watershed, and wildlife and fish purposes.” 16 U.S.C.A. §

23   528. Several other statutes also provide specific requirements for the establishment of

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 1   communication facilities, archaeological exploration, and the construction of vacation buildings,

 2   public buildings, and pipelines. See 43 U.S.C. §§ 931, 1761; 16 U.S.C. §§ 432, 497; 30 U.S.C. §

 3   185. FSEEE argues that the Forest Service cannot regulate uses beyond these purposes.

 4           For support of its interpretation, FSEEE relies on the canon expressio unius est exclusio

 5   alterius, which means “when one or more things of a class are expressly mentioned others of the

 6   same class are excluded.” According to FSEEE, the specific purposes that Congress identified

 7   would be meaningless if the Forest Service could grant a permit for any use it deems worthy.

 8           FSEEE points to Rainsong Co. v. F.E.R.C., 106 F.3d 269, 274 (9th Cir. 1997) and U. S. v.

 9   New Mexico, 438 U.S. 696, 706 (1978) for the proposition that the Forest Service may not decide

10   the purposes of national forest use. In Rainsong, the plaintiff challenged the Federal Energy

11   Regulatory Commission’s procedures in denying a hydroelectric license. Under § 4(e) of the

12   Federal Power Act, FERC may only grant a license on national forest land when it is not

13   inconsistent with “the purpose for which such reservation was created or acquired.” 16 U.S.C. §

14   797(e). The court held that FERC erred by deferring to the Forest Service’s 1990 management

15   plan to determine the purpose for which the forest was created, and should have instead relied on

16   congressional statutes. Id. at 274.

17           In New Mexico, the Supreme Court addressed whether the United States had reserved the

18   use of river water for recreation and other purposes when it set aside the Gila National Forest.

19   438 U.S. at 697-98. The Court applied the “reserved rights doctrine” to determine that water on

20   national forest land may only be impliedly reserved for a purpose under which the national forest

21   could be established. Id. at 718. In reaching this conclusion, the Court found that national forests

22   established before MUSYA could be “reserved for only two purposes-‘[t]o conserve the water

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 1   flows, and to furnish a continuous supply of timber for the people.’” Id. at 707, 713 (quoting 30

 2   Cong.Rec. 967 (1897) (Cong. McRae)).

 3           The Forest Service counters that its authority to regulate “occupancy and use” of national

 4   forest land explicitly allows it to permit uses unrelated to those identified by Congress. See 16

 5   U.S.C.A. § 551; see also Chevron U.S.A., Inc. v. NRDC, 467 U.S. 837 (1984). In the alternative,

 6   the Forest Service argues that even if the Organic Act is ambiguous, its interpretation of the

 7   statute is reasonable. Chevron, 467 U.S. at 844. In addition, the Forest Service asserts that the

 8   expressio unius canon should not be applied where an agency is interpreting a statute it

 9   administers. The Forest Service cites to several cases from the D.C. Circuit in support of this

10   proposition. See, e.g., St. Marks Place Hous. Co. v. U.S. Dep't of Hous. & Urban Dev., 610 F.3d

11   75, 82 (D.C. Cir. 2010) (“[T]he expressio unius canon has little force in the context of challenges

12   to an agency’s interpretation of a statute.”) (internal quotations omitted).

13           When confronted with an agency’s interpretation of a statute it administers, the Ninth

14   Circuit follows the two-step approach from Chevron U.S.A. Inc. v. Natural Resources Defense

15   Council, Inc., 467 U.S. 837 (1984). Latino Issues Forum v. U.S. E.P.A., 558 F.3d 936, 941 (9th

16   Cir. 2009). According to the first step, the Court must apply the “traditional tools of statutory

17   construction” to determine whether Congress has unambiguously addressed the issue. Id.

18   (quoting Chevron, 467 U.S. at 843 n. 9). If Congress’s intent is clear, it must be given effect. Id.

19   at 941-42. However, if Congress has left a gap, step two requires that the court defer to the

20   agency’s interpretation unless it is “arbitrary, capricious, or manifestly contrary to the statute.”

21   Id. at 942 (quoting Chevron, 467 U.S. at 844).

22           In addition, a “court’s prior judicial construction of a statute trumps an agency

23   construction otherwise entitled to Chevron deference only if the prior court decision holds that its

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 1   construction follows from the unambiguous terms of the statute.” National Cable &

 2   Telecommunications Assn. v. Brand X Internet Services, 545 U.S. 967, 982 (2005). However,

 3   where a judicial interpretation pre-dates Chevron, explicit statements regarding ambiguity are not

 4   necessary to resolve the question at step one. United States v. Home Concrete & Supply, LLC,

 5   566 U.S. 478, 488-89 (2012). Rather, the inquiry is whether the prior decision indicates the

 6   court’s belief that congress spoke “directly to the question at hand” and thus left “no gap for the

 7   agency to fill.” Id. (quoting Chevron, 467 U.S. at 842-43).

 8           Starting with Chevron’s first step, the Court finds that the Forest Service’s authority to

 9   broadly regulate “occupancy and use” unambiguously permits it to grant special use permits for

10   purposes not specifically identified by Congress. 16 U.S.C.A. § 551. According to the text of

11   section 551 of the Organic Act, the Forest Service’s authority to determine permissible uses is

12   limited only by its obligation to “insure the objects” of the reservation and “preserve the forests

13   thereon from destruction.” Id. However, this does not limit the agency to regulating solely for the

14   purpose of forest protection. [Pl.’s Reply, Dkt. # 24, at 4]. Rather, several circuit courts have

15   held that the Forest Service may permit uses it determines will not harm the forest but also do not

16   actively protect it. See, e.g., McMichael v. United States. 480 U.S. 572, 582 (9th Cir. 1987)

17   (upholding a prohibition on motorized vehicles in certain areas); United States v. Hymans, 463

18   F.2d 615, 617 (10th Cir. 1972) (upholding a regulation prohibiting skinny dipping and stating

19   that Forest Service regulations need not directly protect the forest); Wyoming v. U.S. Dep't of

20   Agric., 661 F.3d 1209, 1234 (10th Cir. 2011) (collecting cases).

21           More importantly, the Supreme Court has found that the Forest Service’s regulative

22   powers extend beyond those purposes listed in section 475 of the Organic Act. In U.S. v.

23   Grimaud, the Court held that the Forest Service’s power encompasses requiring a special permit

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 1   for grazing. 220 U.S. 506, 523 (1911). In reaching this conclusion, the Court relied on both

 2   section 551, which authorizes regulation of “occupancy and use,” and section 478, which states

 3   that other sections should not “prohibit any person from entering upon such national forests for

 4   all proper and lawful purposes.” Id. at 515; 16 U.S.C.A. §§ 478, 551. The Court explained that to

 5   “pasture sheep and cattle on the reservation, at will and without restraint, might interfere

 6   seriously with the accomplishment of the purposes for which they were established,” but that

 7   regulated pasturage “might not be inconsistent” with those purposes. Grimaud, 220 U.S. at 516.

 8           As the Court acknowledged in Grimaud, the only statutory purposes for national forests

 9   in 1911 were protecting forests, controlling water flow, and securing timber supplies. See id. at

10   507 (quoting 16 U.S.C.A. § 475). Nonetheless, based on sections 478 and 551 of the Organic

11   Act, the Court determined that harmonizing additional uses with these purposes was a “matter of

12   administrative detail.” Grimaud, 220 U.S. at 516. Although the Court did not state that the statute

13   was unambiguous, this is not necessary to satisfy step one for a statute that pre-dates Chevron as

14   long as the court found Congress had addressed the issue. Home Concrete, 566 U.S. at 488-89.

15   In addition, although MUSYA identifies additional national forest purposes, its language mirrors

16   section 475 and is supplemental to that subchapter. See 16 U.S.C.A. § 528; Home Concrete, 566

17   U.S. at 483 (upholding an interpretation of a statute that was reenacted where the “operative

18   language is identical”). Consequently, the interpretation from Grimaud controls and the Forest

19   Service has authority to issue permits for purposes not identified by Congress.

20           Even if the authority granted by the Organic Act was ambiguous, the Court would defer

21   to the Forest Service’s reasonable interpretation under step two of Chevron. See 467 U.S. at 844.

22   While it may be possible to read the purposes identified by Congress as limiting the permissible

23   uses of reservation land, the Forest Service’s interpretation that the list does not limit its

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 1   authority is also permissible. Indeed, neither section 475 of the Organic Act nor MUSYA state

 2   that the list is exhaustive, and section 551 of the Organic Act does not reference the purposes

 3   listed in other subchapters as limitations on agency authority. 16 U.S.C.A. §§ 475, 528, 551.

 4           The cases cited by FSEEE fail to convince the Court otherwise. Rainsong may be

 5   distinguished on several bases. See 106 F.3d at 272-74. First, while the statute in Rainsong

 6   explicitly mandated that FERC consider congressional purposes before granting a license, no

 7   statute at issue here makes such a command. Id. at 272 (quoting 16 U.S.C. § 797(e)). Second,

 8   Rainsong involved FERC’s interpretation of a statute it did not administer, meaning the court

 9   owed the agency no deference. Id. at 274. Here, in contrast, the Forest Service is interpreting its

10   own Organic Act and is thus entitled to deference.

11           New Mexico likewise does not support FSEEE’s interpretation. There, the Supreme Court

12   addressed how much water the United States could reserve for its own use, rather than leaving it

13   open for state or private uses. New Mexico, 438 U.S. at 699-700. However, this involved

14   analyzing the congressional purposes for establishing the forest, not administering it. Id. (stating

15   that the court must examine the “specific purposes for which the land was reserved”). In fact, the

16   Court emphasized that the few purposes for reserving land were intended to limit the federal

17   government’s ability to exclude other private uses. Id. at 708.

18           The Court finds that section 551 of the Organic Act unambiguously grants the Forest

19   Service authority to permit uses of forest land that have not been specifically identified by

20   Congress. As a result, the Forest Service had authority to grant a special use permit to the Navy

21   to conduct its electronic warfare training.

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 1   C.      The Special Use Permit’s Compliance with Forest Plan Requirements

 2           The Forest Plan authorizes the Forest Service to grant special use permits only where the

 3   use “cannot reasonably be accommodated on private land,” the “interests and needs of the

 4   general public” are prioritized, and the use is “in harmony” with the surrounding landscape.

 5   AR022641. FSEEE asserts that the Forest Service’s decision to grant a special use permit to the

 6   Navy is inconsistent with these requirements from the Forest Plan and thus violates the NFMA.

 7   1.      Review of NFMA Claims under the APA

 8           Review of agency decision-making under the NFMA is governed by the APA because

 9   the NFMA does not contain a provision for judicial review. Native Ecosystems Council v. U.S.

10   Forest Serv., an agency of U.S. Dep't of Agric., 418 F.3d 953, 960 (9th Cir. 2005). Under the

11   APA, the court’s role on summary judgment is not to engage in independent fact finding, but to

12   “determine whether or not as a matter of law the evidence in the administrative record permitted

13   the agency to make the decision it did.” Occidental Eng'g Co. v. Immigration & Naturalization

14   Serv., 753 F.2d 766, 769 (9th Cir.1985). An agency decision may only be set aside if it was

15   “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” Native

16   Ecosystems, 418 F.3d at 960.

17           To determine if an agency decision is arbitrary and capricious, the court must consider

18   “whether the decision was based on a consideration of the relevant factors and whether there has

19   been a clear error of judgment.” Native Ecosystems Council v. Weldon, 697 F.3d 1043, 1056 (9th

20   Cir. 2012). The standard is a “narrow one,” but the court must still engage in a “thorough,

21   probing, in-depth review.” Id. (quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401

22   U.S. 402, 415–16 (1971), overruled on other grounds by Califano v. Sanders, 430 U.S. 99, 105

23   (1977)). The agency must show a “rational connection between the facts found and the

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 1   conclusions made.” Id. (quoting Nat'l Wildlife Fed'n v. U.S. Army Corps of Eng'rs, 384 F.3d

 2   1163, 1170 (9th Cir.2004)).

 3   2.      The Forest Service’s Consideration of Private Land

 4           The Forest Plan requires that special use permits “may be authorized when such use

 5   cannot reasonably be accommodated on private land.” AR022641. FSEEE contends that the

 6   Forest Service failed to consider this requirement when it granted a permit to the Navy. FSEEE

 7   argues that the administrative record contains no documents evidencing that the Forest Service

 8   considered whether the Navy’s electronic warfare training could be conducted on private land.

 9   Furthermore, FSEEE argues that the Navy also failed to consider private land in its application

10   for a special use permit application. Even if it did, FSEEE asserts that the Forest Service was not

11   permitted to rely on the Navy’s determinations, but instead had to explain how the record’s facts

12   support its conclusion.

13           In opposition, the Forest Service argues that the Navy did consider other locations for its

14   training, and the Forest Service was entitled to adopt these findings. The Forest Service asserts

15   that the Navy considered several Department of Defense locations, AR205704, 177876-77, and

16   reviewed maps to rule out private land, AR205610-16. The Navy determined that these private

17   land locations were unacceptable due to the specific requirements of electronic warfare training.

18   See AR177871, 177876, 205705. In addition, the Forest Service references the Navy’s policy of

19   ruling out public land before it can acquire an interest with a private entity. AR205704. The

20   Forest Service concluded from all this information that the Navy’s use could not reasonably be

21   accommodated on private land. Finally, if the Court were to find a violation, the Forest Service

22   requests an opportunity for further briefing regarding remedies and harmless error.

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 1           The NFMA requires that “[r]esource plans, permits, contracts, and other instruments for

 2   the use and occupancy of National Forest System lands shall be consistent with the land

 3   management plans.” 16 U.S.C. § 1604(i). “[T]he Forest Service's interpretation and

 4   implementation of its own forest plan is entitled to substantial deference.” Weldon, 697 F.3d at

 5   1056. However, a court may not defer to an agency where its interpretation is “plainly

 6   inconsistent with the regulation at issue” or “contradicts the regulation’s plain language.” Native

 7   Ecosystems, 418 F.3d at 960 (quoting Friends of Southeast's Future v. Morrison, 153 F.3d 1059,

 8   1069 (9th Cir.1998); Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129

 9   L.Ed.2d 405 (1994)). In addition, when deciding whether a use complies with a validly enacted

10   plan, the agency may not decide on its own which requirements are relevant or meaningful, but

11   must instead amend the plan itself. Native Ecosystems, 418 F.3d at 961.

12           Here, the Forest Plan’s requirement that the use “cannot reasonably be accommodated on

13   private land” is not onerous. AR022641. However, the Plan’s plain language still minimally

14   requires that the Forest Service explain somewhere in the record why private land would not be

15   feasible. Instead of doing this, the Forest Service merely states in the record that “the Navy

16   considered alternatives and determined that the actions cannot be accommodated on private

17   lands.” AR205599. If the Navy made such a determination, it is not explained in the record.

18           The record does identify several criteria that make locations acceptable for electronic

19   warfare training. These include the existence of maintained roads, preexisting “pull-outs” for the

20   trucks, lack of electronic spectrum interference, different elevations and angles for receiving

21   signals, presence beneath a military operations area, and a clear line of sight to the west.

22   AR177871, 177876, 205705. There are also factors that make other locations “unreasonable,”

23   including scheduling conflicts, limited range time, lack of proximity to existing bases, and cost.

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 1   AR205705. However, these criteria are never applied to explain why private land within the

 2   Olympic Military Operations Areas would not suit the Navy’s needs. Instead, the Navy’s

 3   Environmental Assessment and permit application use the criteria only to explain why national

 4   forest land is ideal for electronic warfare training, AR177871, and why Department of Defense

 5   locations are untenable, AR205705. This has little to do with private land.

 6           The Forest Service identifies only one place in the administrative record where private

 7   land is actually depicted. Appendix A to the Forest Service’s Decision contains seven pages of

 8   maps depicting the Navy’s “Proposed Mobile Emitter Sites” and their surroundings. AR205609-

 9   16. However, these maps contain no analysis based on the criteria mentioned by the Forest

10   Service. The legend identifies “other land, including private” with the color white, but the maps

11   contain no details regarding the topography of private land. AR205609-16. The legend also only

12   identifies “Forest Service existing roads” and seemingly does not label other roads. AR205609-

13   16. Consequently, despite showing that a fair amount of private land does exist within the

14   Olympic Military Operations Areas, these maps shed little no light on whether it could

15   reasonably accommodate the Navy’s needs. AR205610-11.

16           Furthermore, even if the Forest Service’s expertise allows it to somehow use these maps

17   to rule out private land, this would be inadequate to satisfy the NFMA. The agency must “set

18   forth [the basis of its decision] with such clarity as to be understandable,” rather than forcing the

19   court to “guess at the theory underlying the agency’s action.” Native Ecosystems, 418 F.3d at

20   953, 963 (quoting SEC v. Chenery Corp., 332 U.S. 194, 196-97 (1947), and finding that the

21   Forest Service violated the NFMA by failing to explain in the record how it applied one of the

22   standards from the forest plan). The Forest Service cannot now rely on post hoc rationalizations

23   that are not supported by the record. See Ctr. for Biological Diversity v. U.S. Bureau of Land

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 1   Mgmt., 698 F.3d 1101, 1124 (9th Cir. 2012) (“We cannot gloss over the absence of a cogent

 2   explanation by the agency by relying on the post hoc rationalizations.”).

 3           The Forest Service also suggests that private land is not feasible because the Navy is

 4   required to “evaluate other Department of Defense locations, other federal lands, [and] other

 5   government lands before it can acquire an interest in land with a private entity.” [Def.’s Mot. For

 6   Summ. Judg., Dkt. # 23, at 17]; AR205704. However, this requirement is only a barrier to using

 7   private land if the Navy can accommodate its use on government land. It follows that, if the

 8   Forest Service denied the Navy’s application and there were no other public options, the Navy’s

 9   policy would no longer limit its ability to consider private land. Furthermore, if the Navy does

10   follow this policy, this would directly contradict the Forest Service’s statement that the Navy

11   determined its training “cannot be accommodated on private lands.” See AR205599. The Navy

12   could not have made such a determination if it had to exhaust government options first.

13           In short, the Forest Service committed an error by failing to provide any reason for why

14   the Navy’s training could not be accommodated on private land, as required by the Forest Plan.

15   Nonetheless, the rationale behind the Navy’s policy of preferring government land seems

16   compelling. Dealing with multiple private entities in order to lease or purchase land to conduct

17   electronic warfare training would likely be costly for the Navy and invasive for the private

18   parties. Indeed, even if suitable private land does exist, it strikes the Court as unlikely that such

19   an option would be reasonable.

20           In light of this, the Court grants the Forest Service’s request for further briefing on the

21   issue of harmless error. The harmless error doctrine may be employed in the administrative

22   context “only when a mistake of the administrative body is one that clearly had no bearing on the

23   procedure used or the substance of decision reached.” Nat. Res. Def. Council v. U.S. Forest

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 1   Serv., 421 F.3d 797, 807 (9th Cir. 2005). Despite this relatively high bar, the doctrine may apply

 2   here, and therefore it should be addressed before summary judgment is granted.

 3   3.      The Forest Service’s Prioritization of the Public Interest

 4           In addition to requiring consideration of private land, the Forest Plan also requires that

 5   the “interests and needs of the general public shall be given priority over those of the applicant.”

 6   AR022641. FSEEE argues that allowing the Navy to limit the public’s access to the area around

 7   the training sites subordinates recreational uses. Furthermore, FSEEE asserts that the 24-hour,

 8   nearly year-round access granted to the Navy will cause frequent conflicts with the public’s use

 9   of the forests. AR205700.

10           The Forest Service responds that FSEEE overstates the impact of the training activities.

11   The Forest Service points out that only three vehicles may operate in the national forest at one

12   time and they must use existing pull-off sites. AR205579. In addition, the Forest Service asserts

13   that the Navy is required to use a different location if a camper is occupying the mobile emitter

14   site, and if other recreational activities are ongoing the Navy must relocate if the public user

15   wishes. AR205703.

16           The Court finds that the Navy’s special use permit does not violate the Forest Plan’s

17   requirement to prioritize the general public. As the Forest Service stated, the Navy’s operating

18   procedures clearly require mobile emitter trucks to leave the area if public users would prefer.

19   AR205703. Although the procedures do not state that a truck must vacate the area if a public user

20   arrives after operations have begun, this is not necessary to satisfy the Forest Plan’s requirements

21   as interpreted by the Forest Service. Weldon, 697 F.3d at 1056 (stating that the agency’s

22   interpretation is entitled to “substantial deference”). Consequently, the Forest Service did not

23   subordinate the public interest and did not violate the NFMA.

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 1   4.      The Forest Service’s Consideration of the Surrounding Landscape

 2           Finally, the Forest Plan also requires that the use be “compatible, and in harmony with,

 3   the surrounding landscape.” AR022641. FSEEE argues that the Forest Service failed altogether

 4   to address this requirement, and further contends that the mobile emitter vehicles are not in

 5   harmony with their forested surroundings.

 6           The Forest Service once again counters that it did consider effects on the surrounding

 7   area, even if it did not use the magic words from the Forest Plan. The Decision Notice states that

 8   the eleven mobile emitter sites are all located along existing roads and will not alter the visual

 9   character of the area. AR205590-91. The Decision Notice also determined there would be no

10   significant impact on the public, vegetation, and wildlife. AR205586-96.

11           The Court determines that the Forest Service did consider whether the electronic warfare

12   training would be compatible and in harmony with the surroundings. This requirement is not

13   very specific, and the Forest Service has the discretion to interpret it reasonably. Here, the Forest

14   Service decided that it required considering such things as whether the training would physically

15   alter the land, AR205591, whether it would interfere with park land or other designated areas,

16   AR205591, and whether it would adversely affect surrounding flora and fauna, AR205588-90.

17   This was a reasonable interpretation of the Forest Plan’s requirement, and as a result the Forest

18   Service did not violate the NFMA.

19                                             CONCLUSION

20           FSEEE’s and the Forest Service’s Motions for Summary Judgment as to the NFMA

21   claim related to private land are hereby reserved, pending further briefing. Because the burden of

22   proving harmless error falls on the agency, see Natural Resources Defense Council, 421 F.3d at

23   807, the Forest Service is GRANTED fourteen days from the date of this order to supplement the

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 1   Motion for Summary Judgment. FSEEE is GRANTED fourteen days to respond and the Forest

 2   Service is GRANTED ten days to reply to any new issues or evidence raised in the response.

 3   FSEEE’s Motion for Summary Judgment is DENIED and the Forest Service’s Motion is

 4   GRANTED as to all other claims.

 5           IT IS SO ORDERED.

 6           Dated this 18th day of September, 2018.

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                                                       Ronald B. Leighton
 9                                                     United States District Judge

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